Case 1:22-cv-00339-SPB Document 336 Filed 08/14/23 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNYSLVANIA STATE CONFERENCE
OF THE NAACP, et al,

Plaintiffs, Civil Action No. 1:22-CV-339
V.

AL SCHMIDT,
Acting Secretary of the Commonwealth, et al,
Defendants.

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ORDER

This action challenges the Commonwealth’s application of the Date Requirement
invalidating mail-in ballots. Six organizational-Plaintiffs challenge the disqualification of
undated and incorrectly dated mail-in ballots and allege that their members are at risk of future
disenfranchisement, while five individual-Plaintiffs allege that they were disenfranchised by the
actions of the Secretary of the Commonwealth and each county Board of Elections in the
November 2022 midterm election. ECF No. 121, 7 5. Plaintiffs allege that the actions of
Defendants infringe on their rights under both the Federal Materiality Provision of the Voting
Rights Act and the Equal Protection Clause of the Fourteenth Amendment. The relief Plaintiffs
seek is primarily injunctive and declaratory. The Republican Committees were allowed to
intervene as of right under Federal Rule of Civil Procedure 24(a). ECF No. 167.

Presently before the Court are cross-motions for summary judgment filed by Plaintiffs
and by the Intervenor-Defendants. ECF No. 274; ECF No. 270. Additionally, Lancaster County
Board of Elections filed a motion for summary judgment in which Berks County Board of

Elections joins. ECF No. 267; ECF No. 269. Some parties have filed opposition briefs and even

Case 1:22-cv-00339-SPB Document 336 Filed 08/14/23 Page 2 of 3

reply briefs. At first consideration, this case would seem to be fully briefed and ripe for
disposition.

However, because the Acting Secretary of the Commonwealth acquiesces to Plaintiffs’
view of the application of the Date Requirement and advocates that summary judgment be
granted against itself and in favor of Plaintiff on the Materiality Provision challenge,! additional
briefing focused on the issue of jurisdiction will be taken. Moore v. Harper, 600U.S. ,__sy
2023 WL 4187750, at *6 (June 27, 2023) (“Before turning to the merits, we must determine as a
threshold matter that we have jurisdiction. The Constitution provides for our jurisdiction over
Case and Controversies. Art. HI, § 2. That constitutional requirement ensures that the parties
before us retain a ‘personal stake in the litigation.”) (cleaned up); Zambelli Fireworks Mfg. Co. v.
Wood, 592 F.3d 412, 418 (3d Cir. 2010) (“Federal courts are courts of limited jurisdiction, and
where there is a question as to our authority to hear a dispute, it is incumbent upon the courts to
resolve such doubts, one way or the other, before proceeding to a disposition on the merits.”);
Nesbit v. Gears Unlimited, Inc., 347 F.3d 72, 76-77 (3d Cir. 2003) (“[B]ecause subject matter
jurisdiction is non-waivable, courts have an independent obligation to satisfy themselves of

yurisdiction...”).

AND NOW, this 14th day of August 2023,
IT IS HEREBY ORDERED that Plaintiffs, Intervenor-Defendants, and Defendant

Secretary shall file a brief addressing jurisdiction of this Court. Any other party to this action

' See ECF No. 298, at page 6 (“Under § 10101(a)(2)(b), then, omitting that date cannot be the
reason for canceling an eligible voter’s ballot and plaintiffs should be granted judgment in their
favor on Count I.”); at page 29 (“[T]he Court should grant plaintiffs’ motion for summary
judgment as to Count I and deny the RNC’s cross motion as to that count.”). See also ECF No.
154 (Secretary’s Answer to Amended Complaint).

Case 1:22-cv-00339-SPB Document 336 Filed 08/14/23 Page 3 of 3

may file a brief. All jurisdictional briefs are limited to fifteen (15) pages in length and must be

filed by September 1, 2023.

s/ Susan Paradise Baxter
SUSAN PARADISE BAXTER
United States District Judge

